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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF LOUISIANA
                              SHREVEPORT DIVISION

 UNITED STATES OF AMERICA                         CRIMINAL NO. 08-269-07

 VERSUS                                           JUDGE S. MAURICE HICKS, JR.

 CARLA HUFF                                       MAGISTRATE JUDGE HORNSBY

                                          ORDER

         For the reasons orally assigned in the Report and Recommendation of the

 Magistrate Judge in the transcript previously filed herein, and having thoroughly reviewed

 the record, no written objections having been filed, and concurring with the findings of the

 Magistrate Judge under the applicable law;

         IT IS ORDERED that the GUILTY PLEA entered by defendant Carla Huff on

 September 11, 2009 before Magistrate Judge Mark L. Hornsby is accepted by the Court,

 pursuant to the provisions of F.R.Cr.P. 11.

         THUS DONE AND SIGNED, in Shreveport, Louisiana, this 29th day of October,

 2009.
